                   IN T H E U N ITE D STATES D ISTRICT COU M ERK'SoFFlcE
                   FORTHEWESTERN DISTRICT OFW RGINIA ATRT u
                                                          tJK
                                                            jt
                                                             un
                                                              'V
                                                               l
                                                               s
                                                               Axcour
                           H ARRISO N BU RG D IW SION                              ED
                                                                            Nûy j! 2212
LE O R.M AD D OX ,                                                     JU     .U         L Rx
                                                                      BY;
      Plaintiffy                          Case N o.5:18cv00140                     CLERK

V.
                                          By: M ichaelF.U rbansld
STATE O F D EIA W ARR ,                   ChiefUnited StatesDistrictJudge
      MlI-L,
      D efendants.

                            M EM O R AN D U M O PIN ION

      Proceeding ptq sq,plaintiffLeoR.Maddox flled theinstantComplainttthe
                     - -




ffcomplaint''or<TComp1.''),ECF No.2.In theaccompanyingorderenteredv4:1,
                                                                      1tlzis
m em orandum opinion,the courtwillgrantM addox leave to proceed in form a au erisdue

tohisindkence.AfterreviewingtheComplaint,thecout'tconcludes'thattheactbnmustbe
dismissed forlackofjurisdicdon,putsuanttoFederalRuleofCivilPzocedlzre129$(1)-(2).
      Under28U.S.C.j1915,disttictcourtshaveadutytoscreeniniéalfilingsand dismiss
a com plaintfied in form a au eris<fatany tim eifthe courtdete- inesthat...the

acdon ...isfrivolousozmalicious...gor)failsto stateacllim on wllich reliefmaybe
granted.''28U.S.C.j1915(e)(2)(B)(i)-$);seealsoErilineCo.S.A.v.lohnson,440F.3d'648,
656(4thCir.2006)(internalquotationsomitted)rfgsectionl1915pe- itsdistrictcouttsto
independently assessthem eritsofin fot'm a au eriscom plaints,and to exclude suitsthat

haveno arguablebasisinlaw orfact.').
      The cotutconsttues zo secom plaintsEberally,im posing fflesssttingentstandards

than formalpleadingsdraftedbylawyers.''Ericksonv.Pardus,551U.S.89,94(2007)


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(quoéngEstellev.Gamble,429U.S.97,104-05(1976)).Nonetheless,f<acomplaintmust
contain sufficientfactualm attez,accepted asttue,to fstatea clnim ofteliefthatisplausible

onitsface.'''Ashcroftv.Ibal,556U.S.662,678(2009)(quoéngBellAtl.Co .v.
Twombl,550U.S.544,,570 (2007).
       TllisisnottheflzsttimethatM addox hasraised nearlyidenécalclnimsin frontofthis
court.lSeeComplaint,M addoxv.Brown (W .D.Va.5:17-cv-00010),ECF No.2;Complaint,
Maddoxv.Brown (M addox II)(W .D.Va.5:17-cv-00055),ECF No.2.In theReportand
RecommendadoninMaddoxII,themagistratejudgewêote:
       It is w orth noting at the outset that M addox's fllings ate ffso riddled with
       various gram m atical and syntactical errors,'' Cadm us v. W illiam son, N o.
       5:15cv45,2016W L 1047087,at*11 (W.D.Va.V ar.10,2016),and contain so
       m any conclusory,often urlintelligible statem ents thatitis alm ostim possible
       Tfto determ ine precisely the natlzre ofthe com plaintand the reliefrequested''
       againsteach nam ed defendant,Beaudettv.Ci ofH am ton,775 F.2d 1274,
       1277 (4th Cir.1985).Those fferrorsare only compounded by (llislV tchen
       sink'approach to pleading and hisfailure to m ake cleatwhatspecific conduct
       and parées are encom passed in each count.''zCadm us,2016 W L 1047087,at
       *11.W hat is very clear,however,is that M addox is convinced he w as not
       legally a fffelon''w hen D elaware charged him wit.h the fuearm s offenses and
       he believes thatthe D efendants ffconspired''to artest,prosecute,and convict
       him on those fffalse''or fffraudulent''chargesin violation of a whole hostof
       llisfederalconstitazdonalrights.

R&R rfM addox 11R&R?')at3-4,Maddox ll,ECF No.42 (alteradonsand footnotein
orkinal)(docketcitationsomitted).ThesamesittzationfullyappliestothisComplaint.
       MaddoxnamestheStateofDelaware,theDoverPoliceDepartmentttheV'DPD?),
andtheLaw Firm ofPatrickl.CollinsrfcollinsLaw''and collectivelyfr efendants?).Asfar
asthe courtcan gather,M addox raisesm yriad clnim sagainstD efendants,including clnim s



1Ptusuantto28U.S.C.j1915,thecout'thasalsorecentlyclisnaissedoneother,unrelated rosecompbintftledby
Maddox.SeeOrder,Maddoxv.Cie inancialMortg.Co.,5:18-cv-00041(W.D.Va.Mar.29,2018),ECFNo.4.
2InfactMaddox'sallegaéonsarenotbrokenoutintoseparatecllimsorcotmtsatall.Fed.R.Civ.P.8(d),'1099.
                                    2
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azising outoftheFifth and Fotuteenth Am endm entsto theU .S.Constim don,42 U .S.C.

j1983,TitlesVIand VIIoftheCivilmghtsActof1964,federalantitrustandRICO
statutes,and the SecuritiesA ctof1933.

      TheComplaintfailsto establish jurisdicdon overany ofthedefendants,mandating
disnnissal.TheEleventhAmendmentdiveststhecouttofjudsdicdontoheartheclaims
agninstthe StateofD elaware.SeeU .S.Const.am end.X I;SeminoleTribe ofFla.v.Florida,

517U.S.44,54(1996).BecausefederalcourtslackjlzrisdictiontohearcasesagainsttheState
ofDelaware,thecourtwl
                    'lldismisstheclnimsagainsttheStateofDelawarewithprejudice.
      NordoesMaddoxpleadfactssufEcienttoestablishpersonaljutisdicdonoverthe
DPD orCollins.A courtmayonlyexercisepersonaljurisdiction overanonresident
defendantif<<(1)theexerciseofjtzrisdicdon gisqauthorizedunderthestate'slong-at'm statute;
and (2)theexerciseofjutisdicdon comportgs)with thedueprocesszequitementsofthe
Fourteenth Am endm ent.''CareftrstofM d.Inc.v.CareflzstPre anc Ctrs.,334 F.3d 390,

396(4thCiz.2003).TheVirginialong-atm statuteKfextendgsjjurisdictiontotheextent
pe= issibleunderthedueprocessclause.''En lish & Snaithv.M etz er,901F.2d 36,38 (4th
Cir.1990).
      AstheReport& Recom m endadon in M addox 11aptly stated:

      The Supreme Cotztt has fftecognized two types of personal jurisdiction:
      rgenetal'(sometimescalledfall-purpose')jllrisdictionand fspecifk'(somedmes
      called fcase-linked')jlltiscliction.''Bristol-M ersS uibb Co.v.Su r.Ct.ofCal.
      San Francisco Cty., 137 S.Ct. 1773, 1779-80 (2017) (quoting Good ear
      Dulalo TiresO erat     lons S.A.v.Brown,564U.S.915,919 (2011)).f<A court
      withgeneraljurisdicdonmayheargs-ycbim againstthatdefendant,evenifall
      the incidents underlying the clnim occuzzed in a clifferentState.''1d.at 1780.
      Genetal personal jtuisdiction lies when the defendant has purposefully
      established ffcondnuous and system atic': contact with the forum state,
      G ood ear,564 U.S.at919,such aswhen an individuallives or residesthere,
                                                                            '



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      Bristol-M ers S uibb, 137 S.Ct.at 1780.See J.Mclntyre Mach.,Ltd.v.
      Nicastro,564 U.S.873,880 (2011).ffspecifc jurisdiction is very different.''
      Bristol-M ers S uibb, 137 S.Ct. at 1780.For a court to Tfexercise specific
      jurisdiction,the suitmustazise outofoz relate to the defendant'scontacts
      with theforum.''Id.(cleaned up).Putdifferently,f'theremustbeTan afftliation
      between thefortzm and theunderlying conttoversy,principally,(anjactivityor
      an occurrence that takes place in the fortzm State.'''Id.at 1781 (quoting
      Good ear,564U.S.at919).
M addox 11R&R 20.

      Underthe sam e factsasM addox proffered in M addox II,thecout'theld thatitcould

notexercisepersonaljtzrisdicdonoverPatrickl.Collins(theatorneywhorepresented
M addox in theunderlying D elawarecrim inalacéon and presum ably the principalofCollins

Law)and severaloffkersoftheDPD .J-I.
                                   L at20-21.Even constraing theCom plaintliberally,
asthe courtmust,the Complaintallegesno factssuggesting thatCollinsLaw orthe DPD

haspurposely established Tfcondnuousand system aéc''contactwit.
                                                              h Vitginia,orthatany of

CollinsLaw 'sorthe DPD 'Spurported wrongfulactsarose outoftheircontactswith

Virgilaia.To the contrary,M addox failsto plead thateitherCollinsLaw ortheD PD ever

havehad any contactswith Virginia.

      Thelackofpezsonaljurisdiction Tfisobviousfrom thefaceoftlzecomplaintand no
furtherfacmalrecordisrequired tobedeveloped.''Trtzjillov.W illiams,465F.3d 1210,1217
(10+ Ciz.2006)(quotingFrat'usv.Deland,49F.3d673,674-75(101 Cit.1995)).Assuch,
thecout.tfindsthatitcannotexercisepersonaljudsdictionoverCollinsLaw andtheDPD,
and thecourtmustdisrnisstheclnimsagainstthem pursuantto28U.S.C.j1915.Seeida
(allowing dislnissalunder28U.S.C.j1915when itisclearfrom thefaceofthecompbint
thatthereisno personaljtzrisdiction);In am v.Assocs.Fin.Servs.Co.of1+ .,67F.3d 295,
1995WL 559601,at*1 (4th Cir.1995)(pezcuriam)(affirmingdismissalunder28U.S.C.


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j1915fotlackofpersonaljtuisdiction).ThecourtwilldisnnisstheclnimsagainstCollins
Law and theDPD withoutprejudice,however,so thatM addoxmayrefzethem in the
United StatesDistdctCourtfortheD isttictofD elaware.

       Maddox alsoappearsto seekreliefunderFederalRuleofCivilProcedure60(a).3
Compl.2.Rule60(a)authorizesacoutttoffcorrectaclericalmistakeoramistakearising
from oversightoronnissionwheneveroneisfoundin ajudgment,ordet,orotherpartofthe
record.''Fed.R.Civ.P.60(a).Maddox'srequestforRule60(a)reliefmustbedeniedbecause
hefailsto(1)referencethejudgment,order,orotherpattoftherpcordfrom thiscout'tthat
hebelievescontainsa
                  'clericalerror;and (2)identifytheffmechanicaladjustmentg...,such
ascorrecting transcription eztorsand m iscalculaéonss''thathewishesthecouttto perform .

Sarénv.McNairLaw Fit'
                    m PA,756F.3d259,265 (4th Cit.2014).
       The Clerk isditected to send copiesofthisM em orandum O pinion and the

accom panying O rdezto plaintiff.   .




                                                   Enteted:November1j,2018
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                                                   M ichael . rb
                                                    -           .


                                                   Chie nitedStatesDistdctJudge




3Maddoxasksforreliefff underRule60(b)(a).''Compl.2.ThatsubsecdondoesnotappearinRule60.Maddoxthen
referencesffcorrec:onsbasedonClericalMistakes,Oversights,andOmissionsfotmdinaludgementgsic)Orderor
otherpartoftheRecords,''whichclearlyzeferencesRule60(a).
                                                        5
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